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                                Courtroom Minute Entry
Room: Bluefield                            Case No.: 5:23-cv-00625 & 5:23-cv-00626    Type: Motion Hearing
Caption: MVP v. Tuhus, et al.              Judge: Omar Aboulhosn

Started: 12/13/2024 10:55:52 AM
Ends:    12/13/2024 11:35:03 AM     Length: 00:39:12

10:55:53 AM    Judge Omar Aboulhosn
10:55:54 AM    Courtroom Deputy Tammy Davis
10:55:55 AM    Law Clerk Heather Kropac via Teams
10:55:56 AM    Court Reporter: Court Smart and Teams
10:56:22 AM    Attorney Austin Rogers via Teams
10:56:39 AM    Attorney Jonathan Sidney via Teams
10:56:45 AM    Attorney William DePaulo via Teams
10:57:03 AM    HEARING ON PLAINTIFF MOUNTAIN VALLEY PIPELINE’S MOTION FOR PROTECTIVE ORDER
10:57:10 AM    ECF DOC. 99 – VIA TEAMS VIDEOCONFERENCE
10:57:23 AM    Judge Omar Aboulhosn
10:58:11 AM    Discussions begin.
11:35:00 AM    Hearing adjourned.
